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                                 UNITED STATES DISTRICT COURT
                                 NORTHERN DISTRICT OF ILLINOIS
                                       EASTERN DIVISION

Gervil Nacalaban,                                         Case No.

          Plaintiff,

v.                                                                     COMPLAINT

Mercantile Adjustment Bureau, LLC
c/o National Registered Agents, Inc.
208 S. LaSalle Street, Suite 814
Chicago, IL 60604,                                        Jury Demand Requested

                             Defendant.

                                     JURISDICTION AND VENUE

     1- This court has jurisdiction pursuant to 28 U.S.C. §§1331, 1337, 1367; and 15 U.S.C.

         §1692k(d).

     2- Venue is proper because a substantial part of the events giving rise to this claim occurred

         in this District.

                                                PARTIES

     3- Plaintiff incurred a consumer debt (the “Debt”).

     4- The Debt qualifies as a consumer debt under the FDCPA because it was incurred

         primarily for personal purposes.

     5- Plaintiff is a resident of the State of Illinois.

     6- Defendant is a business entity with its principal office in the State of Illinois.

     7- Defendant acquired the Debt after it was in default and therefore qualifies as a “Debt

         Collector” under the Fair Debt Collection Practices Act.

     8- Defendant uses instruments of interstate commerce for its principal purpose of business,

         which is the collection of debts.




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9- Defendant regularly attempts to collects, or attempts to collect, debts that it acquired after

   the same were in default.

10- At all times relevant, Defendant owned the Debt or was retained to collect the Debt.

                         FACTS COMMON TO ALL COUNTS

11- Plaintiff incurred the Debt before June 29, 2018.

12- Plaintiff defaulted on the Debt before June 29, 2018.

13- On June 29, 2018, Plaintiff filed a voluntary bankruptcy petition that included the Debt.

14- By filing a bankruptcy petition, Plaintiff gained the protection of the automatic stay.

15- Despite the bankruptcy filing, on or around August 6, 2018, Defendant sent a letter to

   Plaintiff to collect the Debt.

16- At the time of this communication, Defendant knew, or should have known, about the

   bankruptcy filing.

17- Defendant violated the FDCPA

18- Defendant damaged Plaintiff.

                                             COUNT I

19- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

20- Defendant violated 15 USC § 1692e(2) by misrepresenting the character, amount, and/or

   legal status of the Debt.

                                             COUNT II

21- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.

22- Defendant violated 15 USC § 1692e(10) by using false representations and/or deceptive

   means to collect, or attempt to collect, the Debt.

                                            COUNT III

23- Plaintiff incorporates all the allegations and statements made above as if reiterated herein.




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24- Defendant violated 15 USC § 1692e by engaging in false, deceptive, or misleading

    methods to collect a debt.

                                         JURY DEMAND

25- Plaintiff demands a trial by jury.

                                   PRAYER FOR RELIEF

26- Plaintiff prays for the following relief:

            a. Judgment against Defendant for Plaintiff’s actual damages, as determined at

                trial, suffered as a direct and proximate result Defendant’s violations of the

                Fair Debt Collection Practices Act, pursuant to 15 U.S.C. §1692k(a)(1);

            b. Judgment against Defendant for $1,000 in statutory damages for Defendant’s

                violations of the Fair Debt Collection Practices Act, pursuant to 15 U.S.C.

                §1692k(a)(2)(A);

            c. Judgment against Defendant for Plaintiff’s reasonable attorneys’ fees and costs

                incurred in this action, pursuant to 15 U.S.C. §1692k(a)(3); and

            d. Any other legal and/or equitable relief as the Court deems appropriate.

                                                RESPECTFULLY SUBMITTED,

                                                Meier LLC

                                                By:/s/ Richard J. Meier
                                                Richard J. Meier, Esq.
                                                401 N. Michigan Ave, Suite 1200
                                                Chicago, IL 60611
                                                Tel: 312-242-1849
                                                Fax: 312-242-1841
                                                Richard@meierllc.com
                                                Attorneys for Plaintiff




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